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                                       684
                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

  Joshua Mello
  Plaintiff,
  v.                                            Case No.: 1:23−cv−00479−JJM

  Edward Arruda, et al.
  Defendant.

                                 ORDER OF RECUSAL

         I hereby recuse myself from participation in the above referenced matter.
         It is so ordered.

  January 8, 2025                             By the Court:
                                              /s/ Lincoln D. Almond
                                              United States Magistrate Judge
